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United States District & Bankruptcy Courts

for the District of Columbia

CLERK’S OFFICE
333 Constitution Avenue, NW
Room 1225
Washington, DC 20001

   

 

I, ANGELA D. CAESAR, Clerk of the United States District Court

for the District of Columbia, do hereby certify that:

DAVID H. THOMPSON

2nd February ,, 1998

was, on the _____ day of admitted to

 

practice as an Attorney at Law at the Bar of this Court, and is, according to

the records of this Court, a member of said Bar in good standing.

In Testimony Whereof, I hereunto subscribe my name and affix the seal of

July

said Court in the City of Washington this _ 6th day of

2022,

A.D.

0 Cnn.
ANGE! A NECAFSAR, Clerk of Courts

Natelee McClure

Deputy Clerk

 

By:

 

 

 

 

 

 
